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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION

Rhett F. McCraw,                               )
                                               )
                                               )        Civil Action No. 7:24-cv-02000-JDA
                       Plaintiff,              )
       vs.                                     )
                                               )
WJ StrutCo, Inc., Benjamin Rutledge Wall,      )
II, Benjamin Rutledge Wall II Revocable        )
Trust, George Dean Johnson, Jr., George        )
Dean Johnson, Jr. Revocable Trust, Dan C.      )
Breeden, Jr., Susanna Presnell Johnson         )
ESA Trust, and George Dean Johnson, III        )
ESA Trust,                                     )
                     Defendants.               )
                                               )

                            JOINT STIPULATON OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Rhett F. McCraw and

Defendants WJ StrutCo, Inc., Benjamin Rutledge Wall, II, Benjamin Rutledge Wall II Revocable

Trust, George Dean Johnson, Jr., George Dean Johnson, Jr. Revocable Trust, Dan C. Breeden,

Jr., Susanna Presnell Johnson ESA Trust, and George Dean Johnson, III ESA Trust hereby

stipulate to the voluntary dismissal of the above-captioned action with prejudice, with each party

to bear its own costs and fees.

       Respectfully submitted,

s/Carter R. Massingill                             s/ John P. Linton, Jr.
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ATTORNEYS FOR PLAINTIFF
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